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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


DANIEL WILLIAM RUDD,

               Plaintiff,                                     Case No. 1:18-CV-124
v.
                                                              HON. GORDON J. QUIST
CITY OF NORTON SHORES, et al.,

               Defendants.
                                        /

           ORDER GRANTING THE BOLHOUSE, HOFSTEE & MCLEAN PC
           FIRM’S MOTION TO WITHDRAW AS ATTORNEY OF RECORD
                     FOR DEFENDANT MELISSA MEYERS

       The law firm of Bolhouse, Hofstee, & McLean P.C. has moved to withdraw as attorney of

record for Defendant Melissa Meyers. Ms. Meyers, an attorney, was formerly associated with the

Bolhouse firm. Bolhouse states that it is no longer able to represent Ms. Meyers due to a breakdown

in the attorney-client relationship. Bolhouse further states that it gave notice of the instant motion

to Ms. Meyers via email and first class mail. Ms. Meyers has not responded to the motion.

       Therefore,

       IT IS HEREBY ORDERED that the Bolhouse, Hofstee & McLean P.C. Law Firm’s

Motion to Withdraw as Attorney of Record for Defendant Melissa Meyers (ECF Nos. 26, 30) is

GRANTED. Ms. Meyers shall have thirty (30) days from the date of this Order to retain counsel.

Otherwise, Ms. Meyers shall be deemed to be proceeding pro se.

       All notices and filings shall be served on Ms. Meyers at the following address: Tanis Schultz,

85 Campau Ave NW, Suite R305, Grand Rapids, MI 49503. The Clerk shall also add the following

telephone number and email address for Ms. Meyers to the docket: (616) 608-7149;

mmeyers@tanisshultz.com.


Dated: May 16, 2018                                         /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
